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AO 98 (Rev. 12/11) Appesrance Bond

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Silocemee

UNITED STATES DISTRICT COURT

for the
District of Columbia [+]
United States of America )
v. )
) Case No. 22-cr-00350-JEB-1

_ JUSTIN DEE ADAMS _ )
Defendan ~ ~ oT y

APPEARANCE BOND

Defendant’s Agreement

I JUSTIN DEE ADAMS

» _ __SUSTINDEEADAMS == defendtams), agree to follow every order of this court, or any
court that considers this case, and | further agree that this bond may be forfeited if 1 fait:

( X ) to appear for court proceedings;
(xX) if convicted, to surrender to serve a sentence that the court may impose; or
( X )  tocomply with all conditions set forth in the Order Setting Conditions of Release.

Type of Bond
( X ) (1) This is a personal recognizance bond.
( _) (2). This is an unsecured bond of $ __ . _
( ) (3) Thisisasecuredbondof$ . , secured by:

( )@s _.

__ _ _ _ ,incash deposited with the court.

(_) (b) the agreement of the defendant and cach surety to forfeit the following cash or other property

(describe the cash or other property, inchuling clatms on it — such as a lien, morigage, or loan — and attach proof af
ownership and value):

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

(_) (©) abail bond with a solvent surety (attach a copy of the ball bund, or describe It and identify the surety):

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant docs not comply with the above
agreement, The court may Immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant docs not comply with the agreement. At the request of the United States, the court

may order a judgment of forfeiture against the defendant and each surcty for the entire amount of the bond, including
interest and costs.
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AQ 98 (Rev. 12/11) Appearance Bond

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Release of the Bond, The court may order this appearance bond ended at any time. This bond will be satisfied and the

security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property, 1, the defendant — and cach surety ~ declare under pennity of perjury that:

(I) ali owners of the property securing this appearance bond are included on the bond;
(2) the property is not subject to claims, except as described above; and

(3) T will not sel the property, allow further claims to be made against it, or do anything to reduce its value
while this appearance bond is in effect.

Acceptance. |, the defendant - and each surety - have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. | agree to this Appearance Bond,

1, the defendant — and each surety — declare under penalty of perjury that this information is truc., (See 28 U.S.C. § 1746.)

Date: 07/08/2023 def was swom to conditions via Zoom _
Defendant's signature

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Surety/property owner = printed name Suretyiproperty owner — signuture and date

° Surenypraperty owner = printed name Surenyproperty owner ~ signature and date

SurenyYproperty owner — printed name Surety/property awner — signature and date

CLERK OF COURT

: 7106/2023 OO —_——__—
Date: oH emt Signature of Clerk ar Deputy Clerk

Approved,
Date: 07/06/2023 ee

